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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                  IN THE UNITED STATES DISTRICT COURT                August 11, 2020
                   FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                            HOUSTON DIVISION


KYLIE L. BENITEZ-WHITE,              §
                                     §
     Plaintiff,                      §
                                     §
v.                                   §        CIVIL ACTION NO. H-20-1562
                                     §
PEOPLES REPUBLIC OF CHINA,           §
and COMMUNIST PARTY OF CHINA,        §
                                     §
     Defendants.                     §


                           ORDER OF DISMISSAL


     By Order entered May 8, 2020, the Court denied Omar W.

Rosales’s Motion for Admission Pro Hac Vice because on July 13,

2017, he was SUSPENDED from practice in the Southern District of

Texas as a result of his suspension in the Western District of

Texas, and that he had never since sought to be reinstated in this

Court and remained SUSPENDED.       The Court specifically ordered:


     Omar W. Rosales remains SUSPENDED from practice in this
     case and shall give written notice, and a copy of this
     Order, to the client for whom he has filed this action,
     namely, Plaintiff Kylie L. Benitez-White, advising
     Plaintiff that she must either cause a new attorney to be
     substituted as her counsel or inform the Court that she
     will represent herself pro se.


     The Court further ordered Omar W. Rosales promptly to advise

the Court of Plaintiff’s correct address where she may be served
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with future notices or pleadings if she does not cause substitute

counsel to appear in her behalf.

        The Court finds that Omar W. Rosales has wholly failed for

more than three months to comply with its Order to advise the Court

of Plaintiff’s correct address where she may be served with notices

or pleadings.      Instead, and in disregard of the Court’s prior

Order, Omar W. Rosales has filed a second Application for Admission

Pro Hac Vice (Document No. 7).           Nothing has changed, except for

Omar W. Rosales displaying his contempt for the Court by defying

its Orders.    Rosales remains SUSPENDED from practice in this case,

and has never been reinstated in this Court as required by the

Rules    of   Discipline,   United   States   District   Court,   Southern

District of Texas. His second Motion for Admission Pro Hac Vice is

DENIED.

        On July 28, 2020, the Court issued a Show Cause Order to

Plaintiff Kylie L. Benitez-White requiring that she show cause, if

any exists, within ten (10) days after the date of that Order why

this case should not be dismissed without prejudice for want of

prosecution.     Plaintiff has neither made a pro se appearance nor

caused a lawyer to appear for her as required by the Court’s Order

of May 8, 2020.       Plaintiff was advised that if she filed no

response to the show cause order, the case will be dismissed for

want of prosecution.




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     Plaintiff has filed no response to the Court’s Show Cause

Order of July 28, 2020.      Accordingly, for the foregoing reasons,

this case is DISMISSED without prejudice for want of prosecution.

     It is SO ORDERED.

     The Clerk will enter this Order, providing a correct copy to

all parties of record.

     SIGNED at Houston, Texas, on this 11th day of August, 2020.




                                           EWING WERLEIN, JR.
                                        UNITED STATES DISTRICT JUDGE




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